
600 S.E.2d 175 (2004)
43 Va.App. 591
Angela M. HODGES, Appellant,
v.
COMMONWEALTH of Virginia, Department of Social Services, Division of Child Support Enforcement, ex rel. Comptroller of Virginia, ex rel. Phyllis Hodges, Appellees.
Record No. 2182-03-3.
Court of Appeals of Virginia.
August 10, 2004.
Before FITZPATRICK, C.J., and BENTON, ELDER, ANNUNZIATA, BUMGARDNER, FRANK, HUMPHREYS, CLEMENTS, FELTON, KELSEY and McCLANAHAN, JJ.
43 Va.App. 463, 598 S.E.2d 778
Upon a Petition for Rehearing En Banc
On July 27, 2004 came the appellant, by counsel, and filed a petition praying that the Court set aside the judgment rendered herein on July 13, 2004, and grant a rehearing en banc thereof.
On consideration whereof, the petition for rehearing en banc is granted, the mandate entered herein on July 13, 2004 is stayed pending the decision of the Court en banc, and the appeal is reinstated on the docket of this Court.
The parties shall file briefs in compliance with Rule 5A:35. The appellant shall attach as an addendum to the opening brief upon rehearing en banc a copy of the opinion previously rendered by the Court in this matter. It is further ordered that the appellant shall file with the clerk of this Court *176 twelve additional copies of the appendix previously filed in this case.
